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                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

       In re: PIERSON, PATSY J.                                          §   Case No. 14-05033
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       THOMAS A. BRUINSMA                         , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             One Division Ave., N.
             Room 200
             Grand Rapids, MI 49503


      Date Mailed: 01/20/2020                    By: /s/THOMAS A. BRUINSMA
                                                                        Trustee
       THOMAS A. BRUINSMA
       6812 OLD 28th ST S.E.
       SUITE E
       GRAND RAPIDS, MI 49546
       (616) 975-2010




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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN

              In re: PIERSON, PATSY J.                                                       §       Case No. 14-05033
                                                                                             §
                                                                                             §
          Debtor(s)                                                                          §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                      The Final Report shows receipts of                                         $         100,000.00

                      and approved disbursements of                                              $          84,563.18
                                                            1
                      leaving a balance on hand of                                               $          15,436.82

                                                          Balance on hand:                                   $              15,436.82
                Claims of secured creditors will be paid as follows:

Claim           Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
No.                                                          Asserted       of Claim          to Date                        Payment
   1 -1         CREDIT UNION ONE                            10,421.93                    0.00                    0.00              0.00
   2 -1         HARLEY-DAVIDSON                             20,596.27                    0.00                    0.00              0.00
                CREDIT CORP.
   4 -1         U.S. BANK NATIONAL                          80,798.77                    0.00                    0.00              0.00
                ASSOCIATION
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              15,436.82

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                          Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - THOMAS A. BRUINSMA                                                  6,670.75                     0.00          6,670.75
Trustee, Expenses - THOMAS A. BRUINSMA                                                125.94                     0.00            125.94
Attorney for Trustee, Fees - RAYMAN & KNIGHT                                        5,560.00              5,560.00                 0.00
Attorney for Trustee, Expenses - RAYMAN & KNIGHT                                      192.96                192.96                 0.00
Other Fees: KIRKENDALL DWYER LLP/LAMINACK,                                        38,000.00              38,000.00                 0.00
PIRTLE & MARTINES
Other Expenses: IRKENDALL DWYER                                                     1,183.17              1,183.17                 0.00

                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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LLP/LAMINACK, PIRTLE & MARTINES
                             Total to be paid for chapter 7 administration expenses:        $            6,796.69
                             Remaining balance:                                             $            8,640.13

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
Attorney for Debtor Fees - STARIHA LAW OFFICES,                        1,029.38                 0.00       1,029.38
P.C.
                             Total to be paid for prior chapter administrative expenses:    $            1,029.38
                             Remaining balance:                                             $            7,610.75

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $            7,610.75
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 7,016.42 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
   3 -2        CHIEF FINANCIAL CREDIT UNION                            7,016.42                 0.00       7,016.42
                             Total to be paid for timely general unsecured claims:          $            7,016.42
                             Remaining balance:                                             $              594.33




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            Tardily filed claims of general (unsecured) creditors totaling $ 21,202.61 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 2.8 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
  5 -1         FEDERAL HOME LOAN MORTGAGE                                 21,202.61                   0.00             594.33
               CORPORATION
                              Total to be paid for tardy general unsecured claims:                $               594.33
                              Remaining balance:                                                  $                 0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/THOMAS A. BRUINSMA
                                                                                Trustee

             THOMAS A. BRUINSMA
             6812 OLD 28th ST S.E.
             SUITE E
             GRAND RAPIDS, MI 49546
             (616) 975-2010


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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